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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :       Case No:
                                             :
              v.                             :       VIOLATIONS:
                                             :
JOHN EARLE SULLIVAN,                         :       18 U.SC. §§ 231(a)(3), 2
                                             :       (Civil Disorders)
                     Defendant.              :
                                             :       18 U.S.C. § 1752(a)
                                             :       (Restricted Building or Grounds)
                                             :
                                             :       40 U.S.C. § 5104(e)(2)
                                             :       (Violent Entry or Disorderly Conduct)

                                         ORDER

       Upon consideration of the Government=s Motion to Seal the Criminal Complaint and Arrest

Warrant, concerning the above-defendant, it is hereby

       ORDERED that the Motion is GRANTED, and that the Criminal Complaint, the Affidavit

of the United States for the Criminal Complaint, Arrest Warrant, and the Government=s Motion to

Seal, and this corresponding Order be sealed until further order of this Court; and

       ORDERED that notwithstanding the sealing, the government may disclose the criminal

complaint and arrest warrant in furtherance of its law enforcement and prosecution needs and

discovery obligations;

       ORDERED that upon execution of the arrest warrant in this case, the charging documents

shall be unsealed.


Date: January 13, 2021
                                      HONORABLE G. MICHAEL HARVEY
                                      UNITED STATES MAGISTRATE JUDGE

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